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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                       Miami Division

 EXCLUSIVE MOTORING                            )
 WORLDWIDE, INC.                               )
 A Florida Corporation                         )
                                               )
          Plaintiff,                           )
                                               )
 v.                                            )       Case No.______________________
                                               )
 ALEX VEGA                                     )
 An individual,                                )
                                               )
       Defendant.                              )
 _______________________________               )

                                           COMPLAINT

          Plaintiff, Exclusive Motoring Worldwide, Inc. (hereinafter “Exclusive Motoring”), hereby

 makes and brings the following complaint against Defendant, Alex Vega as follows:

          1.      This is an action for an award of damages and for injunctive relief arising from

 violations of the Lanham Act 15 U.S.C. §1125(a) and §1125(d) (unfair competition/trademark

 infringement, and cybersquatting), and violations of Florida law including but not limited to

 breach of a covenant not compete, conversion, fraud, misappropriation of trade secrets, and civil

 theft.

          2.      Plaintiff Exclusive Motoring is a Florida corporation with a principal place of

 business at 1951 NW 97 Avenue, Miami, Florida 33172.

          3.      Defendant Alex Vega is an individual who upon information and belief resides at

 10868 NW 85 terrace, Miami, Florida 33178.

          4.      This Court has federal question jurisdiction over this controversy pursuant to 28

 U.S.C. §1331 because portions of this claim arise pursuant to the Lanham Act, 15 U.S.C. §1125(a)


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 and §1125(d). This Court also has supplemental jurisdiction over the non-federal question claims

 pursuant to 28 U.S.C. §1367 because those claims are interrelated to the federal claims.

          5.      Venue is proper in this District pursuant to 28 U.S.C. §§1391(b)(1)(2) in so much

 as the acts giving rise to this cause of action occurred in this District.

     I.         FACTUAL ALLEGATIONS

          A. Background

          6.      Prior to the acts complained of herein, Defendant Vega was the owner and operator

 of Auto Couture, Inc. d/b/a “Exclusive Motoring” (hereinafter “Auto Couture”), a business

 specializing in the customization and modification of high-end vehicles.

          7.      In or about early 2009, Auto Couture was the client of Doral Collision Center, Inc.

 (hereinafter “Doral Collision”), a business owned by Rolando Ramirez, the owner of Plaintiff

 Exclusive Motoring.

          8.      During the term of the business relationship between Auto Couture and Doral

 Collision, Auto Couture amassed outstanding invoiced owed and payable to Doral Collision in the

 amount of approximately $92,500.00.

          9.      Unable to satisfy the debt to Doral Collision, Auto Couture agreed to a business

 deal wherein Auto Couture would sell and transfer all of its assets to Doral Collision for the sale

 price of $92,500.00, Auto Couture would cease doing business, Mr. Ramirez would open a new

 company under the name “EXCLUSIVE MOTORING” or “EXCLUSIVE MOTORING

 WORLDWIDE,” Mr. Ramirez’s business would subsume Auto Couture’s former business, and

 Defendant Vega would become an employee of Mr. Ramirez’s new business.

          10.     In furtherance of the above business plan, a Bill of Sale was executed on November

 30, 2009 transferring all of Auto Couture’s assets to Doral Collision. See Exhibit A. With no


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 assets or equipment with which to do business, Auto Couture ceased operation.

        11.    Soon thereafter, Mr. Ramirez incorporated Plaintiff Exclusive Motoring and as

 promised hired Defendant Vega as an employee.

        B. Plaintiff’s Marks

        12.    Plaintiff Exclusive Motoring operates its business under the inherently distinctive

 common law trademarks “EXCLUSIVE MOTORING,” “EXCLUSIVE MOTORING & Design,”

 “EXCLUSIVE        MOTORING        WORLDWIDE,”           and/or    “EXCLUSIVE         MOTORING

 WORLDWIDE & Design” (hereinafter “Plaintiff’s Marks”) as reproduced below in figures 1 & 2:




 (Figure 1).




 (Figure 2).

        13.    Under its Marks, Plaintiff offers customization and/or modification of high-end

 vehicles.

        14.    Through the Plaintiff’s long and continuous use of its Marks, as well as through its

 advertising of the Marks, Plaintiff’s Marks have acquired secondary meaning and distinctiveness.

        15.    Plaintiff’s rights in and to the Marks date back to September 2005 or earlier, and in

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 no event later than December of 2009 when it began operation and use of the Marks in commerce

 in its own name. Specifically, Plaintiff’s rights in the Marks date back via assignment from Auto

 Couture to September 27, 2005, or earlier, when Auto Couture began using the Mark

 “EXCLUSIVE MOTORING” in commerce as a “d/b/a.” See Exhibit B.

        16.     Upon information and belief, Auto Couture conflated the idea of “d/b/a” with a

 trademark, used the Marks as trademarks in commerce, and assigned any and all rights in and to

 the “d/b/a” and the Marks to Plaintiff’s predecessor in interest under the aforementioned Bill of

 Sale. See Exhibit A. Doral Collision thereafter assigned the same to the Plaintiff.

        C. Defendant Vega’s Employment and Covenant Not to Compete

        17.     Defendant Vega was an employee of Plaintiff Exclusive Motoring and worked for

 the sole benefit and at the discretion of Exclusive Motoring. See Exhibit C (salary paystubs

 showing that Defendant Vega received weekly salary as an employee of the Plaintiff).

        18.     In or about October of 2011, the landlord from whom Plaintiff Exclusive Motoring

 is leasing its current location went into foreclosure and the future of the space became uncertain.

 As such, Mr. Ramirez began considering either negotiating for the purchase of the site, or for the

 lease or purchase of a new site for the business. In either event, Mr. Ramirez calculated that he

 would soon be making a large investment in the future of the Exclusive Motoring’s business and

 decided to take certain steps to protect his investment.

        19.     Among the steps that Mr. Ramirez made was to prepare a covenant not to compete

 for all of the Exclusive Motoring employees to review and sign.

        20.     On Wednesday, October 26, 2011, Exclusive Motoring called a meeting of all of its

 employees, including Defendant Vega.

        21.     At that time, Exclusive Motoring requested that each employee sign the covenant


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 not to compete titled “Non-Compete Agreement.”

           22.      All employees were given an opportunity to review the document before signing.

 In fact, Defendant Vega was provided with a copy of the covenant not to compete ahead of time so

 that his attorney, Hoss Hernandez, Esq., could review and comment on the document prior to

 signature. Prior to signing the document, Mr. Vega stated to Mr. Ramirez that he had provided a

 draft of the document to his counsel.

           23.      After discussion, Defendant Vega signed the “Non-Compete Agreement” on

 Wednesday, October 26, 2011 in front of witnesses including, but not limited to, Ana B. Perez.

 See Exhibit D.

           24.      The Non-Compete Agreement prohibits Defendant Vega, for a period of two (2)

 years from his termination as an employee of Plaintiff Exclusive Motoring, from among other

 things:

                 a. “Intentionally act[ing] in any manner that is detrimental to the relations between

                    the [sic] Exclusive Motoring Worldwide, Inc. and its clients, employees and/or

                    contractors.” Id.

                 b. “Solicit, without written approval from Exclusive Motoring Worldwide, Inc. any

                    client or prospective client of Exclusive Motoring Worldwide, Inc. for a period of 2

                    two years after termination of your employment for the purpose of providing or

                    selling to said client or prospective client any products or services, which are

                    similar to those sold or provided by Exclusive Motoring Worldwide, Inc. at the

                    time of your termination.” Id.

                 c. “While employed by Exclusive Motoring Worldwide, Inc., and for 2 two years

                    after the termination of employment, directly or indirectly hire any employees,


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                contractors, or consultants of Exclusive Motoring Worldwide, Inc.” Id.

        25.     On Thursday, October 27, 2011, after Exclusive Motoring conducted an internal

 review of its accounts, it was determined that many of the clients with whom Defendant Vega was

 dealing had considerable open accounts receivable owing to Plaintiff Exclusive Motoring.

        26.     It is contrary to Exclusive Motoring’s policy to allow clients to amass extensive

 accounts receivable, and Defendant Vega had previously been informed that it was contrary to

 company policy to deliver any finished vehicles to clients prior to full payment of invoices.

        27.     Mr. Vega was thereafter instructed to provide contact information for all clients of

 Exclusive Motoring with whom he had direct contact so that efforts could be made to collect on the

 accounts receivables.

        28.     Defendant Vega proceeded to provide false and/or incorrect contact information for

 many of the clients.

        29.     On Friday, October 28, 2011, Plaintiff Exclusive Motoring determined that

 Defendant Vega was either attempting to deceive Exclusive Motoring by providing false client

 contact information, or was otherwise incompetent in as much as he was not maintaining accurate

 contact information for customers who had been allowed to take delivery of finished vehicles prior

 to payment.

        30.     Irrespective of whether Defendant Vega was being purposefully deceitful or was

 merely an incompetent employee, Exclusive Motoring determined that it could no longer employ

 Defendant Vega and terminated his employment at the close of business on October 28, 2011.

        31.     Soon after his employment at Plaintiff Exclusive Motoring was terminated,

 Defendant Vega entered into a campaign of wrongful and unlawful acts designed to damage

 Plaintiff Exclusive Motoring.


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         D. Defendant Vega’s Wrongful Acts

         32.     Upon information and belief, after his termination from employment with Plaintiff

 Exclusive Motoring, Defendant Vega immediately began attempting to compete with Exclusive

 Motoring in the high-end automobile customization business.

         33.     Defendant Vega has access to a customer database of Exclusive Motoring’s clients.

 This database is found on a laptop computer belonging to Plaintiff Exclusive Motoring which was

 issued to Defendant Vega as part of his employment with the Plaintiff.

         34.     Despite demands by Plaintiff for return of the laptop computer, Defendant Vega

 has failed/refused to return it.

         35.     Upon information and belief, Defendant Vega is accessing the customer database

 and is soliciting business from Plaintiff Exclusive Motoring’s clients and offering services which

 directly compete against those offered by the Plaintiff.

         36.     Upon information and belief, immediately after his employment with Plaintiff

 Exclusive Motoring was terminated, Defendant accessed Plaintiff’s domain name and website

 account, changed the passwords to the account, blocked Plaintiff’s access to its

 www.exclusivemotoring.com and www.exclusivemotoringworldwide.com domain names,

 modified the websites appearing on the domain names to remove the Plaintiff’s contact

 information, modified the websites appearing on the domain names to display the Defendant’s

 contact information, and changed the registrant of the domain names to Domains By Proxy in an

 attempt to hide his wrongful acts. See Exhibit E.

         37.     Upon information and belief, after termination of his employment with the

 Plaintiff, Defendant Vega has continued to hold himself out to customers, potential customers,

 vendors, and the public generally as “EXCLUSIVE MOTORING.”


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          38.      Upon information and belief, after termination of his employment with the

 Plaintiff, Defendant Vega has and continues to deliver Plaintiff’s invoices to clients for payment of

 work done by the Plaintiff, has collected the money owed under the invoices under the false

 pretense that he is “Exclusive Motoring,” and has failed/refused to return the funds to Exclusive

 Motoring.

          39.      Defendant Vega has refused to return to Plaintiff Exclusive Motoring certain

 “wheel-take-offs”1 entrusted to Plaintiff Exclusive Motoring by clients with whom Plaintiff has

 written work orders and has invoiced. See Exhibit F.

          40.       Such wheel-take-offs were entrusted to Plaintiff Exclusive Motoring who in turn

 entrusted the wheel-take-offs to its employee Defendant Vega on the express understanding that

 Defendant Vega was holding the wheel-take-offs as an agent and employee of Plaintiff Exclusive

 Motoring.

          41.      Defendant Vega’s wrongful acts have and continue to damage the Plaintiff.

          42.      Defendant Vega’s wrongful acts are causing irreparable harm to the Plaintiff, such

 that and award of damages alone cannot make the Plaintiff whole.

          43.      Absent immediate Court intervention in the form of a Rule 56(b) temporary

 injunction, a preliminary injunction for the term of the litigation, and ultimately a permanent

 injunction, Defendant will continue to engage in his campaign of wrongful acts and will continue

 to damage the Plaintiff.

          44.      A motion for temporary and preliminary injunctive relief is being prepared

 contemporaneously with this Complaint and will be filed as soon as practicable.




 1
   A “wheel-take-off” is the term used in the industry to describe the original wheel that has been removed from a car
 and replaced with a custom wheel.
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                                COUNT I – CYBERSQUATTING

          45.    Plaintiff hereby incorporates the allegations set out in Paragraphs 1 - 44 of this

 Complaint as though fully set out herein.

          46.    Plaintiff is the owner of the inherently distinctive common law trademarks

 “EXCLUSIVE MOTORING,” “EXCLUSIVE MOTORING & Design,” “EXCLUSIVE

 MOTORING WORLDWIDE,” and/or “EXCLUSIVE MOTORING WORLDWIDE & Design.”

          47.    Defendant Vega has registered or is otherwise using, with the bad faith intent to

 profit from the Plaintiff’s Marks, the domain names www.exclusivemotoring.com and

 www.exclusivemotoringworldwide.com which are identical or confusingly similar to Plaintiff’s

 Marks.

          48.    Defendant Vega’s use of these domain names is likely to cause confusion among

 the consuming public.

          49.    Defendant Vega has no trademark rights in and to the Plaintiff’s Marks.

          50.    Defendant Vega is not making bona fide noncommercial use or fair use of the

 domain names and/or Marks as defined by federal trademark law.

          51.    Defendant Vega is using the domain names with the intent to transfer or divert

 consumers away from Plaintiff and to his own competing services, both of which are advertised on

 the Internet.

          52.    Defendant Vega has registered the domain names through Domains By Proxy

 thereby eliminating his own name and contact information from the “Who Is” data base. See

 Exhibit E. Such registration is done in an attempt to hide the Defendant’s wrongful and bad faith

 actions.

          53.    Defendant Vega has registered or used more than one domain name that is identical


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  or confusingly similar to the distinctive trademark(s) of the Plaintiff despite knowing that he has

  no rights to the domain names or the marks.

         54.     Defendant’s acts, spelled out in greater detail throughout this complaint, including

  but not limited to the Defendant’s actions in violation of the covenant not to compete, the fact that

  the Defendant changed the password on the Plaintiff’s domain name account, and the fact that the

  Defendant is wrongly holding himself out as the Plaintiff in order to collect money owed to the

  Plaintiff further evidence the Defendant’s bad faith.

         55.     The Defendant’s acts constitute cybersquatting under the portion of the Lanham

  Act known as the Anticybersquatting Consumer Protection Act 15 U.S.C. §1125(d) (hereinafter

  the “ACPA”).

         56.     Defendant’s actions are damaging the Plaintiff and causing irreparable harm to the

  Plaintiff, and will continue absent immediate Court intervention.

          COUNT II – UNFAIR COMPETITION/TRADEMARK INFRINGEMENT

         57.     Plaintiff hereby incorporates the allegations set out in Paragraphs 1 - 44 of this

  Complaint as though fully set out herein.

         58.     Plaintiff is the owner of the inherently distinctive common law trademarks

  “EXCLUSIVE MOTORING,” “EXCLUSIVE MOTORING & Design,” “EXCLUSIVE

  MOTORING WORLDWIDE,” and/or “EXCLUSIVE MOTORING WORLDWIDE & Design.”

         59.     The Plaintiff’s Marks serve as indicators of the source of Plaintiff’s services.

         60.     Defendant Vega is, upon information and belief, holding himself out to consumers,

  vendors, and the public at large as “Exclusive Motoring.” Such acts constitute use of the

  “Exclusive Motoring” mark in commerce.

         61.     Defendant’s acts are likely to cause confusion among the consuming public.


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          62.        Defendants acts are wrongful and constitute unfair competition under 15 U.S.C.

  1125(a).

          63.        Defendant’s actions are damaging the Plaintiff and causing irreparable harm to the

  Plaintiff, and will continue absent immediate Court intervention.

                                 COUNT III - UNJUST ENRICHMENT

          64.         Plaintiff hereby incorporates the allegations set out in Paragraphs 1 - 44 of this

  Complaint as though fully set out herein.

          65.        Plaintiff has contracted to perform certain automotive customization services for

  certain clients.

          66.        Plaintiff has performed said services.

          67.        Plaintiff has issued invoices for services rendered.

          68.        Defendant has wrongfully taken copies of the above referenced invoices, presented

  the invoices to the client for whom the work was performed, has held himself out as the party to

  whom payment is owed, and has wrongfully collected on such funds to his own advantage and at

  the disadvantage of the Plaintiff.

          69.        The money collected by Defendant is money that was owed to the Plaintiff and not

  Defendant.

          70.        Defendant has been unjustly enriched from his wrongful acts.

          71.        Defendant’s wrongful acts have damaged the Plaintiff.

                                           COUNT IV - FRAUD

          72.        Plaintiff hereby incorporates the allegations set out in Paragraphs 1 - 44 of this

  Complaint as though fully set out herein.

          73.        Plaintiff has contracted to perform certain automotive customization services for


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  certain clients.

          74.        Plaintiff has performed said services.

          75.        Plaintiff has issued invoices for services rendered.

          76.        Defendant has wrongfully taken copies of the above referenced invoices, presented

  the invoices to the client for whom the work was performed, has held himself out as the party to

  whom payment is owed, and has wrongfully collected on such funds to his own advantage and at

  the disadvantage of the Plaintiff.

          77.        The money collected by Defendant is money that was owed to the Plaintiff and not

  Defendant.

          78.        Defendant’s misrepresentations were committed with the intent to deceive.

          79.        Defendant has wrongfully collected on the Plaintiff’s invoices with the intent to

  commit fraud.

          80.        Defendant’s above acts constitute fraud.

          81.        Plaintiff has been harmed by Defendant’s wrongful acts.

                     COUNT V - BREACH OF COVENANT NOT TO COMPETE

          82.        Plaintiff hereby incorporates the allegations set out in Paragraphs 1 - 44 of this

  Complaint as though fully set out herein.

          83.        Defendant was employee of the Plaintiff.

          84.        Defendant received employment compensation from the Plaintiff in the form of

  weekly salary. See Exhibit C (paystubs indicating that the Defendant was paid a salary as an

  employee).

          85.        On October 26, 2011 Plaintiff informed Defendant along with all other Exclusive

  Motoring employees that, in exchange for a continued offer of employment, all employees would


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  be required to sign a covenant not to compete restricting the employees from competing with the

  Plaintiff for a period of two (2) years within South Florida.

         86.     The Defendant was provided with the covenant not to compete titled

  “Non-Compete Agreement.”

         87.     Defendant was given an opportunity to review the Non-Compete Agreement prior

  to signing.

         88.     The Defendant signed the Non-Compete Agreement before witnesses included, but

  not limited to, Ana Perez. See Exhibit D.

         89.     Had Defendant refused to sign the Non-Compete Agreement he would have been

  terminated immediately on October 26, 2011.

         90.     On October 28, 2011, after receiving from the Defendant false contact information

  for clients with outstanding balances owed to the Plaintiff, Plaintiff determined that the

  Defendant’s employment with the Plaintiff should be terminated for either attempted deception of

  the Plaintiff or alternatively for simple incompetence.

         91.     Defendant was terminated from his employment position with the Plaintiff at the

  close of business on Friday, October 28, 2011.

         92.     Defendant received his ordinary salary for work done on October 26, 2011,

  October 27, 2011, and October 28, 2011.

         93.     Had Defendant refused to sign the Non-Compete Agreement, Defendant would

  have been immediately terminated and would not have received salary beyond that earned as of

  October 25, 2011.

         94.     Plaintiff and Defendant negotiated for and exchanged legally sufficient

  consideration for Defendant to enter into the Non-Compete Agreement.


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         95.     Upon information and belief, Defendant has, subsequent to termination of his

  employment with the Plaintiff, begun competing with the Plaintiff in direct violation of the

  Non-Compete Agreement.

         96.     Upon information and belief, Defendant is wrongfully contacting Plaintiff’s clients

  to solicit their business in direct breach of the Non-Compete Agreement.

         97.     Upon information and belief, Defendant is wrongfully contacting Plaintiff’s

  vendors seeking to contract them to provided services which would allow the Defendant to

  compete with the Plaintiff in direct breach of the Non-Compete Agreement.

         98.     The Non-Compete Agreement signed by the Defendant includes a provision

  allowing for immediate injunctive relief without the need to prove irreparable injury or special

  damages.

         99.     Plaintiff is being irreparably harmed by Defendant’s wrongful acts.

         100.    Plaintiff is being damaged on a continuing basis by Defendant’s wrongful acts.

         101.    Absent immediate Court intervention in the form of an injunction, the Defendant

  will continue to engage in wrongful acts designed to damage the Plaintiff.

                                     COUNT VI - REPLEVIN

         102.    Plaintiff hereby incorporates the allegations set out in Paragraphs 1 - 44 of this

  Complaint as though fully set out herein.

         103.    Plaintiff is the rightful owner and/or possessor of certain property including one

  laptop computer issued to the Defendant by the Plaintiff for use in the Defendant’s function as an

  employee of the Plaintiff, certain wheel-take-offs taken from client vehicles, and the

  www.exclusivemotoring.com and www.exclusivemotoringworldwide.com domain names.

         104.    Defendant has no legal right to continued possession of the above described


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  property.

         105.    Demand has been made for return of the property, but Defendant has refused.

         106.    Plaintiff is being harmed by Defendant’s refusal to surrender the property.

         107.    Absent immediate Court intervention, Defendant will not return the property and

  Plaintiff will continue to be harmed.

                                   COUNT VII - CONVERSION

         108.    Plaintiff hereby incorporates the allegations set out in Paragraphs 1 - 44 of this

  Complaint as though fully set out herein.

         109.    Plaintiff is the rightful owner/possessor of property including one laptop computer

  issued to the Defendant by the Plaintiff for use in the Defendant’s function as an employee of the

  Plaintiff, certain wheel-take-offs taken from client vehicles, and money wrongfully collected by

  the Defendant owning on invoices issued by the Plaintiff.

         110.    Defendant has wrongfully misappropriated the above property to his own use,

  control, and enjoyment.

         111.    Defendant’s acts have damaged the Plaintiff and will continue to damage the

  Plaintiff absent Court intervention.

                                   COUNT VIII - CIVIL THEFT

         112.    Plaintiff hereby incorporates the allegations set out in Paragraphs 1 - ** of this

  Complaint as though fully set out herein.

         113.    Plaintiff is the rightful owner/possessor of property including one laptop computer

  issued to the Defendant by the Plaintiff for use in the Defendant’s function as an employee of the

  Plaintiff, certain wheel-take-offs taken from client vehicles, money wrongfully collected by the

  Defendant owning on invoices issued by the Plaintiff, and the www.exclusivemotoring.com and


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  www.exclusivemotoringwordlwide.com domain names.

         114.    Defendant has wrongfully misappropriated the above property to his own use,

  control, and enjoyment.

         115.    Defendant’s acts have damaged the Plaintiff and will continue to damage the

  Plaintiff absent Court intervention.

         116.    Defendant’s misappropriation of the above described property was done willfully

  and with the intent to deprive Plaintiff of such property.

         117.    Defendant’s wrongful acts constitute civil theft under Florida law.

         118.    Plaintiff has sent statutory notice to Defendant and made demand for return of the

  property. See Exhibit G.

         119.    Defendant has failed/refused to return the property.

         120.    Absent Court intervention, Defendant will continue to possess the property and to

  damage the Plaintiff.

         121.    Pursuant to Florida law, Plaintiff is entitled to treble damages resulting from

  Defendants acts.

                     COUNT IX - MISAPROPRIATION OF TRADE SECRETS

         122.    Plaintiff hereby incorporates the allegations set out in Paragraphs 1 - 44 of this

  Complaint as though fully set out herein.

         123.    Plaintiff by and through its own efforts and the efforts of its employees acting in

  their capacity as agents of the Plaintiff, has collected a list of clients and preferred vendors

  (hereinafter “Plaintiff’s Client and Vendor Database”).

         124.    Plaintiff treats its Client and Vendor Database as confidential.

         125.    Plaintiff gains substantial advantage from maintaining the confidential nature of the


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  Client and Vendor Database.

         126.    A copy of the Vendor and Client Database, or a partial version thereof, exists on the

  laptop computer issued to the Defendant for his use on behalf of the Plaintiff.

         127.    Upon information and belief, subsequent to his termination as an employee of the

  Plaintiff, the Defendant has used and continues to use the Plaintiff’s Client and Vendor Database

  to compete against the Plaintiff.

         128.    The Defendant’s misappropriation of the Client and Vendor Database constitutes

  misappropriation of trade secrets under Florida law, namely of Florida Statute §688.001 et seq.

         129.    Defendant’s wrongful acts are damaging the Plaintiff.

         130.    Defendant’s wrongful acts are causing the Plaintiff to be irreparably and

  continuously harmed.

         131.    Absent immediate Court intervention the Defendant will continue to irreparably

  harm the Plaintiff.

         WHEREFORE, Plaintiff respectfully requests that the Court enter judgment against the

  Defendant for Plaintiff’s actual damages, for treble damages associated with civil theft, punitive

  damages associated with Defendant’s acts of fraud and/or misappropriation of trade secrets, the

  full measure of statutory damages as set out in 15 U.S.C. §1125(d) for Defendant’s acts of

  cybersquatting, an award of attorneys’ fees as permitted by 15 U.S.C. §1117, Fla.Stat §688.001 et

  seq., and Fla.Stat. §772.11, an award of costs, and such additional relief as the Court deems just

  and proper.

         In addition, the Plaintiff requests that the Court grant the Plaintiff immediate temporary,

  preliminary,     and     permanent     injunctive     relief    awarding      transfer    of    the

  www.exclusivemotoring.com and www.exclusivemotoringworldwide.com domain names,


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  ordering return of the wheel-take-offs, the laptop computer, and the Customer and Vendor

  Datatbase, prohibiting the Defendant from further breaching the Non-Compete Agreement,

  prohibiting the Defendant from holding himself out as the Plaintiff or otherwise as “Exclusive

  Motoring” or any similar names, from infringing on the Plaintiff’s trademarks, or from otherwise

  using any name, phrase, or device in commerce that is likely to create confusion as between the

  Plaintiff and the Defendant among the consuming public, and prohibiting the Defendant from

  further use of the Customer and Vendor Database.

                                             Jury Demand

         Plaintiff demands trial by jury of all claims so triable.

         Dated November 18, 2011

                                        Respectfully submitted,


                                By: _s/GUSTAVO SARDIÑA___
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                                       Florida Bar No. 31162
                                       Email: gustavosardina@gmail.com
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